Case 2:92-cv-02062-.]PI\/|-tmp Document 1999 Filed 05/31/05 Page 1 of 10 Page|D 9644

   
 

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IN THE UNITED sTATEs DISTRICT coURT O‘JHB*' l PH 3= |i¢
FOR THE wEsTERN DISTRICT oF TENNESSEE im
wEsTERN DIvIsION CL'§'F;};;-‘ ,V=__: §\Né¢$~§mr

YV 9 ”*`Vl MEMPHB
UNITED STATES OF AMERICA,
Plaintiff,
v. No. 92-2062~D/A
STATE OF TENNESSEE, et al.,
Defendants,
PEOPLE FIRST OF TENNESSEE, and

PARENT-GUARDIAN ASSOCIATION OF
ARLINGTON DEVELOPMENTAL CENTER,

V-_r\./~_'V~_/~_/V-_.¢VVV-._.¢-_/V

Intervenors.

 

ORDER

 

On April 29, 2005, the Monitor, Dr. Nancy K. Ray, submitted an
invoice for fees and expenses incurred in March 2005. According to
this invoice, the Monitor incurred fees and expenses in the amount
of $83,135.40 in March 2005. This invoice is attached hereto as
Appendix l.

Whereas the Court has not received any comments or objections
from Defendant, Defendant State of Tennessee is hereby ORDERED to
pay the amount set out in this invoice into the registry of the
Court. All funds received by the Clerk of Court are directed to be
deposited into an interest-bearing account and shall be used to
reimburse the Monitor for her expenses and fees up to and including

the total sum of the money deposited by Defendant State of

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Case 2:92-cv-02062-.]PI\/|-tmp Document 1999 Filed 05/31/05 Page 2 of 10 Page|D 9645

Tennessee. Any money not spent by the Monitor shall be credited to

Defendant.

IT IS SO ORDERED this :g/ day of May, 2005.

   

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ss NICE: s.“ boNALD ' \
ITED sTATEs DIsTRIcT JUDGE

 

 

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ease 2:92-cv-02062-JPl\/l-tmp Dggy%p}»ct,$a£§§§§g§§;€}§@%$ PaoeSOf 10 PaQ€lD 9646

NKR & Associates, Inc.
518 Delaware Avenue

Delrnar. NY 12054
Phon€ (5]8) 478~0932 Fax (518) 478-0986

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA_,
Plaintiff,

V.

STATE OF TENNESSEE, ET AL., NO. 92-2062 l\/ll /A
Defendants.

INVOICE FOR MARCH 2005

Dr. Nancy K. Ray hereby represents to the Court that the following monies are payable to
her for her duties as the Monitor during the month of March 2005.

Payable to
NKR & Associates, lnc.

AMOUNT ()F REIMBURSEMENT REQUESTED $83,135.40

UBMITTED BY:

 
   

Nancy K.
President

ay, Ecl.D. Date: April 29. 2005

 

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ease 2:92-cv-02062-JPl\/l-tmp D%g,r!g rj;)§§t egm’§§;)!?é§ygi$ Paoe4Of 10 PaQ€lD 9647

NKR & Associates, Inc.
318 Delaware Avenue
Delmar, NY 12054
Phone (518) 478-0982 FaX (518) 478-0986

 

April 5, 2005

INVOICE FOR MARCI-I 2005

PROFESSIONAL STAFF HOURS

Ray, N. 215 hours @ $125 26,875.00
Bulgaro, P. 8.50 hours @ $150 1,275.00
Coleman, V. 172 hours @ $70 12,040.00
Truesdale, L. 150 hours @ 550 7,500.00
SUPPORT STAFF HOURS

Dowd, C. 184 hours @ $50 9,200.00
Farstad, E. 112 hours @ $40 4,480.00
Morris, K. 164.50 hours @ $50 8,225.00
Williams, S. 144.25 hours @ 340 5,770.00
STAFF TRAVEL

Ray (2/ 28-3 / 02 / 05) 699.31
Ray (3/7-10/05) 1,644.33
Ray (3/1_5-18/05) 1,219.59
Coleman (March 2005) 660.25
Morris (3/15-18/05) 877.~}7
Truesdale (3/21-24/05) 916.08
Williams (3/15-18/05) 627.97
CONSULTANT TRAVEL

Ouimet (3/21-23/05) 458.52
PI-IONE

Verizon Wireless and AT&T 237.20
POSTAGE

FedEx and US Postal Serviee 223.50
PRINTING

Inhouse Printing 205.68

Total 5383,135.40

 

 

Notice of Distribution

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Case 2:92-cv-02062-.]P|\/|-tmp Document 1999 Filed 05/31/05 Page 6 of 10 Page|D 9649

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Case 2:92-cv-02062-.]P|\/|-tmp Document 1999 Filed 05/31/05 Page 7 of 10 Page|D 9650

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Honorable Bernice Donald
US DISTRICT COURT

       
 

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UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

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Case 2:92-cv-02062-.]P|\/|-tmp Document 1999 Filed 05/31/05 Page 9 of 10 Page|D 9652

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